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 1                                   CERTIFICATE OF SERVICE

 2          The undersigned certifies under penalty of perjury under the laws of the United States of

 3   America and the laws of the State of Washington that all participants in the case are registered

 4   CM/ECF users and that service of the foregoing documents will be accomplished by the

 5   CM/ECF system on January 25, 2018.

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 7
                                                  Derek A. Newman, WSBA #26967
 8                                                dn@newmanlaw.com
 9                                                Newman Du Wors LLP
                                                  2101 Fourth Ave., Ste. 1500
10                                                Seattle, WA 98121
                                                  (206) 274-2800
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28   DECLARATION OF LINDSEY MULLER                                            2101 Fourth Avenue, Suite 1500
     IN SUPPORT OF PLAINTIFFS’ MOTION FOR            NEWMAN DU WORS LLP         Seattle, Washington 98121
     SUMMARY JUDGMENT - 9                                                             (206) 274-2800
     [2:17-cv-01297-MJP]
